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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Mish International Monetary Inc.
                                          Plaintiff,
v.                                                          Case No.: 1:20−cv−04577
                                                            Honorable Manish S. Shah
Vega Capital London, Ltd., et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 24, 2025:


         MINUTE entry before the Honorable Manish S. Shah: A telephone status hearing
is set for 7/9/2025 at 9:30 a.m. Parties to the case, members of the public, and the media,
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proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Notices Mailed. (psm, )




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